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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

TIMOTHY WILLIS WADE,                     )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )       Case No. CIV-21-00101-PRW
                                         )
BARRY ROHRBOUGH, et. al.,                )
                                         )
      Defendants.                        )

                                        ORDER

      Plaintiff, appearing pro se, filed this action pursuant to 42 U.S.C. § 1983 and sought

to proceed in forma pauperis. On June 22, 2021, United States Magistrate Judge Gary M.

Purcell issued a Report and Recommendation (Dkt. 19) recommending Plaintiff’s action

be dismissed without prejudice based on his failure to comply with the Court’s Orders

and/or keep the Court apprised of his current contact information. The Court has attempted

to provide Plaintiff sufficient notice of the possibility of dismissal and gave him an

additional response opportunity through objection to the Report and Recommendation

(Dkt. 19) by no later than July 12, 2021. To date, Plaintiff has filed no objections.

Accordingly, the Court DISMISSES this action WITHOUT PREJUDICE.

      IT IS SO ORDERED this 1st day of October 2021.
